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                                             June 5, 2023


  Via ECF

  The Hon. Robert B. Kugler                             Special Master the Hon. Thomas Vanaskie
  United States District Judge                          Stevens & Lee
  USDC, District of New Jersey                          1500 Market Street, East Tower, 18th Floor
  Mitchell H. Cohen Building & U.S. Courthouse          Philadelphia, PA 19103
  4th & Cooper Streets, Room 1050
  Camden, NJ 08101

         Re:     In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                 USDC, District of New Jersey, No. 1:19-md-2875-RBK-SAK


  Dear Judge Kugler and Judge Vanaskie:

          I write on behalf of the Defendants’ Executive Committee to provide Defendants’ positions
  with respect to the topics on the agenda for the conference with the Court on Wednesday, June 7,
  2023. Defendants do not anticipate that any of the matters to be discussed at the conference will
  require confidentiality.

     1. Plaintiffs’ Class Notice Proposal

         Plaintiffs filed their Motion for Approval of Form and Manner of Class Notice [Dkt. 2375]
  (“Class Notice Plan”), on May 10, 2023. Defendants filed their Opposition to the Class Notice
  Plan [Dkt. 2412] on May 26, 2023. Plaintiffs’ reply is presently due on June 7, 2023 under Case
  Management Order No. 32.

          Plaintiffs’ counsel notified defense counsel by electronic mail on May 31, 2023 that, in lieu
  of a reply, Plaintiffs intend to revise their Class Notice Plan to include individualized notice to
  class members and to address other issues raised in Defendants’ Opposition. Plaintiffs’ counsel
  proposed that the parties jointly request a revised briefing schedule for class notice to account for
  Plaintiffs submitting a revised Class Notice Plan, as well as Defendants’ response to the revised
  Class Notice Plan and Plaintiffs’ reply. Defense counsel responded the same day that Defendants
  would work with Plaintiffs on a revised schedule and requested Plaintiffs’ proposed schedule.
  Plaintiffs’ counsel responded on June 2, 2023, that Plaintiffs are still working on determining what
  schedule makes sense.
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          In light of these developments, Defendants anticipate that there will not be substantive
  argument concerning the Class Notice Plan at the June 7 Case Management Conference, and
  anticipate there may be a discussion regarding the briefing schedule for Plaintiffs’ revised Class
  Notice Plan. Defendants will be prepared to discuss that subject, together with any questions the
  Court may have concerning Plaintiffs’ Class Notice Plan or Defendants’ Opposition.

     2. Plaintiffs’ Discovery Requests directed to the Retail Pharmacy Defendants

          The Pharmacy Defendants are continuing to work with Plaintiffs to understand the scope
  of the discovery Plaintiffs seek from them, but Plaintiffs keep changing their requests, rendering
  fulsome and timely responses difficult or impossible. Nonetheless, in today’s letter, the Pharmacy
  Defendants provide the following update regarding ongoing discovery issues and attempt to
  respond to the three new issues Plaintiffs identified for discussion.

         A. CMO 32 Discovery

         CMO 32 ordered the Pharmacy Defendants to provide to plaintiffs the following
  information relating to class certification claims:

         6.1.1   amounts TPPs paid for VCDs

         6.1.2   retailers’ costs and profits for VCDs

         6.1.3   previously-redacted retailer identifiers of ConEcoLoss members

  ECF No. 2343. As noted at the April 26 in-person conference, the Pharmacy Defendants were
  committed to meeting and conferring with Plaintiffs regarding the interpretation of that order and
  the feasibility of productions. Those efforts are ongoing, and Plaintiffs are currently evaluating
  the Pharmacy Defendants’ May 22 proposal to Plaintiffs, which the Pharmacy Defendants hope
  will resolve most, if not all, of the parties’ open issues.

         Additionally in CMO 32, the Court granted Plaintiffs’ request for “further targeted
  discovery and depositions of retailer custodians and FRCP 30(b)(6) deponents,” with scheduling
  to occur at the upcoming Case Management Conference. Id. Again, the Pharmacy Defendants
  and Plaintiffs are continuing to meet and confer regarding custodial discovery and depositions. If
  those meet and confer efforts are not successful, the parties have agreed to follow the briefing
  schedule used for the dispute between Plaintiffs and the Wholesalers, with oral argument via Zoom
  before Judge Vanaskie on July 6, 2023. Special Master Vanaskie entered that order today. ECF
  No. 2416. The parties believe that the timing of custodial discovery can be determined before or
  by the July 6, 2023 oral argument, as the parties are still meeting and conferring regarding the
  timing of discovery, which in part depends on scope, and may be able to reach agreement on a
  schedule. Nonetheless, the Pharmacy Defendants will be prepared to discuss a schedule for
  custodial discovery and depositions if the Court desires at the upcoming conference this
  Wednesday, June 7.
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         B. New Requests from Plaintiffs

          In exchanging topics with Plaintiffs for the upcoming conference, Plaintiff identified that
  they plan to bring three new issues to the Court’s attention: (i) amendment of the HIPAA order to
  include telephone numbers, (ii) production of consumer class member identifiers in other databases
  besides pharmacy dispensing records (e.g., customer loyalty data, membership data, etc.); and (iii)
  production of third party payor identities (not the amounts paid, which is addressed separately).
  See June 1, 2023 Email from Dave Stanoch, attached as Exhibit A. None of these matters is ripe
  for resolution before the Court, as Plaintiffs just asked for this information two business days ago,
  such that the Pharmacy Defendants are still discussing these issues with their clients in order to
  meet and confer with Plaintiffs. The Pharmacy Defendants propose that the Court encourage the
  parties to continue to meet and confer, and, if they cannot obtain resolution, brief these three issues
  as well according to the briefing schedule just entered by Special Master Vanaskie, with oral
  argument to be held July 6, 2023. See ECF No. 2416.

         1. Telephone numbers

          Plaintiffs’ recent request for telephone numbers follows a pattern of Plaintiffs seeking ever-
  changing information from the Pharmacy Defendants with little notice to them. In mid-May,
  Plaintiffs represented the only identifiers they seek are name, address and email. See May 10,
  2023 Letter from Adam Slater (ECF No. 2374) (“Plaintiffs have agreed to narrow this information
  to that necessary to effectuate notice, including: name, address, and email. Plaintiffs do not seek
  other identifying information (e.g., birth date, SSN, etc.).”; May 15, 2023 Letter from Adam Slater
  (ECF No. 2376) (“Finally, in terms of identifiers for consumer economic loss class plaintiffs
  (CMO No. 32, at ¶ 6.1.3), the Parties have agreed to narrow this information to that necessary to
  effectuate, notice, including: name, address, and email.”) Plaintiffs later requested that the Retail
  Pharmacy Defendants provide data of birth, so the Retail Pharmacy Defendants agreed and
  included that within the proposed order regarding protected health information under HIPAA. On
  May 30, the Court entered that order, which reflected the parties’ agreement following this
  extensive meet and confer process. (ECF No. 2413).

          Just a day later, on May 31, Plaintiffs reached out to advise the Pharmacy Defendants that
  Plaintiffs now also seek to have the Retail Pharmacy Defendants include telephone numbers as an
  additional data pull within the structured dispensing data, and a day after that, sought to amend the
  HIPAA order because those telephone numbers would be protected health information. See June
  1, 2023 Email from Dave Stanoch, attached as Exhibit A.

          The Pharmacy Defendants have concerns about whether the production of telephone
  numbers is necessary, given Plaintiffs’ initial class notice plan did not involve direct
  communications to class members. Notice via telephone, whether robocalls or text messages, may
  be unnecessary and intrusive, especially given the demographics of the class members, who may
  not use text messaging frequently or reliably. Likewise, receiving a robo-dialed call is very
  intrusive to many consumers as contrasted with a postcard or mailer. Given these concerns, and
  the fact that no notice plan actually using telephone numbers is pending, the Retail Pharmacy
  Defendants do not believe this issue is ripe for decision. In any event, if phone numbers must also
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  be included in the Pharmacy Defendants production, the Court’s previously approved HIPAA
  order will need to be amended, and the Pharmacy Defendants will need to revise their collection
  requests so that this data can be queried, pulled and produced alongside each consumer’s name,
  address and email. As noted above, counsel for the Pharmacy Defendants are still meeting with
  clients to discuss this issue, given the timing of Plaintiffs’ recent request, and will meet and confer
  with Plaintiffs on this further.

     2. Consumer Class Member Identifiers in Databases Outside of Dispensing Records

          Plaintiffs recently suggested that information within the dispensing records may be
  insufficient to identify every piece of possible contact information for a putative consumer
  economic loss class member, and that the Pharmacy Defendants should engage in herculean
  discovery efforts in an effort to potentially provide additional contact information for those
  putative class members to the extent that such contact information is not already contained within
  the dispensing records.

          First, this entirely new request from Plaintiffs is premature, given that production of the
  identifiers within the dispensing data (including telephone numbers if ordered) has not yet
  occurred. It may be that Plaintiffs (and the Court) are entirely satisfied with the contact
  information available within that pull, such that this extravagant effort is entirely unnecessary.
  Plaintiffs’ initial notice plan did not contemplate direct-to-consumer notice, and Plaintiffs have not
  yet put forward any type of notice plan that actually uses the dispensing data information the
  Pharmacies will soon be producing.

          Second, the request is largely—or entirely—duplicative of the dispensing data pull. Some
  Pharmacy defendants may not have any additional information that is not within the dispensing
  data. If the dispensing data does not contain an email address for a putative class member, the
  pharmacy may not have any information from that consumer containing an email address,
  regardless of source. Given the late timing of this request from Plaintiffs, the Pharmacy
  Defendants have not fully investigated Plaintiffs’ ask. But it is truly a fishing expedition to request
  this type of herculean data pull on the off chance that the current data pull might be insufficient to
  provide direct notice to consumers. Moreover, to date, no Defendant has argued that sending direct
  notice via the information contained in the Pharmacy Defendants’ dispensing records – the best
  and true source for information about who is or is not a member of the class – is insufficient. That
  there might be different or additional email address or other contact information in a source outside
  that dispensing data does not justify pulling the loyalty records for potentially millions of
  consumers on the off chance that some additional information might be available.

          Third, the request—if even possible—may be extremely burdensome and costly. In
  meeting and conferring about this topic, Plaintiffs have referenced loyalty card data pulls from the
  Zantac litigation. That litigation was postured much differently than this one, in that the
  Plaintiffs—on a periodic basis—provided customer identifying information (loyalty information,
  largely) for certain registered, unfiled plaintiffs, who then searched through purchase records to
  identify whether over-the-counter ranitidine was within the consumer’s purchases. Loyalty
  records were not used to search for or identify an entire class of consumers who filled prescriptions
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  through the Zantac defendants’ pharmacies (information that the dispensing data being produced
  by the Pharmacy Defendants in this litigation already reflects). Here, it is unclear what Plaintiffs
  even propose to have the Defendants do in terms of identifying putative class members from a data
  set outside the dispensing records. Even the limited endeavor in Zantac was extremely costly,
  burdensome, and time-consuming.

         Again, this request is entirely new from Plaintiffs, and at a minimum, counsel for the Retail
  Pharmacy Defendants need to confer with their clients about what is even potentially feasible and
  then confer again with Plaintiffs. The Pharmacy Defendants suggest that this topic be included in
  the upcoming briefing schedule with Judge Vanaskie (see ECF No. 2416), or deferred even further
  beyond that, as it makes sense to consider this issue only after Plaintiffs have reviewed the
  information produced in connection with the dispensing data and formulated their new notice plan.

     3. Payor Information

         Pharmacy Defendants have agreed to produce data reflecting the payment amounts
  received by third-party payors. Two business days ago, on June 1, Plaintiffs conveyed via email
  an additional request that the Pharmacy Defendants separately produce the “payor identities” (or
  TPP names), as a request separate from and in addition to their existing request for third-party
  payment amounts. See June 1, 2023 Email from Dave Stanoch, attached as Exhibit A.

          The Retail Pharmacy Defendants need time to discuss this request with their clients in order
  to respond. The availability of this information may vary drastically from pharmacy to pharmacy,
  and may not exist at all within the dispensing data previously produced. Some Pharmacy
  Defendants may not possess the actual names of the underlying third-party payor health plans that
  are financially responsible for reimbursement. Other Defendants may possess that information, but
  not in a reasonably accessible manner. To the extent certain Defendants do have the identity of
  the actual third-party payor health plan at issue, that information may be a very highly confidential
  trade secret subject to contractual limitations on how it may be shared, so appropriate safeguards
  and notice procedures would need to be followed before it could possibly be shared.

          The Retail Pharmacy Defendants do not believe this issue is ripe for resolution. To the
  extent Plaintiffs continue to insist on it, the Retail Pharmacy Defendants request that it be briefed
  and argued following the same briefing schedule recently entered by Judge Vanaskie for other
  issues facing the Retail Pharmacy Defendants. See ECF No. 2416.

         C. Losartan/Irbesartan Discovery

          Under CMO 32, as modified by Special Master Order 76, Plaintiffs were permitted to
  “propound initial discovery requests for losartan and irbesartan, that will be focused on . . . class
  certification” for economic loss issues (ECF 2343 at 3) by May 22, 2023. Plaintiffs did so, serving
  twenty-six such requests on May 22, 2023. But then, almost two weeks after the deadline,
  Plaintiffs served a second set of discovery on June 2, 2023 containing thirteen further requests for
  production (ECF 2414.) These requests, already untimely under the Court’s scheduling orders,
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  also expanded the subject area of Plaintiff’s discovery beyond class certification issues.1 CMO 32
  sought to limit Plaintiffs to a specific timeframe and subject matter for initial losartan/irbesartan
  discovery. Plaintiffs’ second set of requests exceed CMO 32 in both regards, and Pharmacy
  Defendants should not have to respond to these untimely and improper requests. Nonetheless, like
  the issues above, the Retail Pharmacy Defendants do not believe this issue is ripe for adjudication
  and simply raise it to preserve the issue.

      3. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

  Cases Addressed at the April 26, 2023 Case Management Conference:

  The Court issued three show cause orders returnable at the June 7, 2023 Case Management
  Conference:

      1. Deborah Bixler v. ZHP, et al. – 22-cv-6653
      2. Estate of Steven Jiles v. ZHP, et al. – 22-cv-5628
      3. Diane Hardwick v. Aurobindo, et al. – 22-cv-6397

  The issues in the Bixler and Jiles matters are resolved, and the show cause orders may be
  withdrawn.

  The issues in the Hardwick matter remain unresolved, but the parties agree to an extension of the
  show cause order until the next case management conference.

  Second Listing Cases – Order to Show Cause Requested:

  Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially incomplete and
  contain core deficiencies. Each of these cases were previously listed on the agenda for a prior
  CMC. This list was provided to Plaintiffs’ leadership on May 30, 2023, and a global meet and
  confer was held on June 2, 2023. Defendants have also been available for further discussion as
  needed. Accordingly, Defendants request that an Order to Show Cause be entered in each of these
  cases, returnable at the next case management conference, as to why these cases should not be
  dismissed.

  Defense counsel will be prepared to address the individual issues with respect to each of these
  cases, to the extent necessary, during the June 7, 2023 Case Management Conference:




  1
    For example, Plaintiffs request discovery concerning “documents and communications regarding changes to the
  sourcing of generic drug products as a result of the [alleged] nitrosamine contamination.” (ECF 2414, RFP No. 9.)
  These documents would address merits issues, not class certification issues.
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       First Listing Cases – Remaining Core Deficiencies:
           Plaintiff        Civil           Law Firm                    Deficiencies                     Deficiency
                           Action                                                                        Sent
                             No.
1.     Ricky Young v.        22-cv-          Bernstein Liebhard         Largely deficient PFS;           3/30/22
         ZHP, et al.          7210                                      Authorizations have to be
                                                                        addressed to providers, not a
                                                                        blank template; must be
                                                                        undated and witnessed
                                                                        where necessary.

2.       Jacquelyn         23-cv-194          Nigh Goldenberg           Need medical expenses.           4/3/23
       Smason v. Doe

3.     Rafael Feria v.     23-cv-485          Nigh Goldenberg           Need medical expenses.           4/4/23
        Teva, et al.

4.     Thomas Fogarty        21-cv-             Brown Chiari            No PFS Filed                     PFS Due –
       v. Aurobindo, et      13480                                                                       3/14/23
             al.
5.     Robert Janecek      23-cv-538             Nabers Law             No PFS Filed                     PFS Due –
        v. ZHP, et al.                                                                                   3/31/23



       The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved. This list
       was provided to Plaintiffs’ leadership on May 30, 2023, and a global meet and confer was held on
       June 2, 2023. Defendants have also been available for further discussion as needed. This is the first
       time these cases have been listed on this agenda. Accordingly, Defendants are not requesting
       orders to show cause with respect to any of the below cases at this time and will continue to meet
       and confer to resolve these deficiencies.


           Plaintiff         Civil               Law Firm               Deficiencies                     Deficiency
                            Action                                                                       Sent
                             No.
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1.     Michael Goss v.       22-cv-        Nigh Goldenberg        Authorizations must be        4/18/23
         ZHP, et al.          6966                                addressed to providers and
                                                                  insurance entitie(s). Not a
                                                                  blank template.




2.     Cynthia Earney        21-cv-       Parafinczuk Wolf        Need authorizations           4/28/23
       v. Walmart Inc.       13479




3.     Regina Johnson        22-cv-       Moore Law Group         Insurance authorization       4/28/23
        v. ZHP, et al.        1881                                must be witnessed; need
                                                                  authorization for
                                                                  Independence Keystone.




4.     Leslie Sturgill v.   23-cv-612   Bernstein Liebhard LLP    Largely deficient PFS         5/2/23
         ZHP, et al.




5.        Russell           23-cv-861     Oliver Law Group        Need prescribing physician    5/2/23
         Christian v.                                             information; need to answer
         Doe, et al.                                              if making mental health
                                                                  claim; need authorizations.
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6.         Taffnie          20-cv-      Donahey Law Firm         Need pharmacy records;        5/3/23
         Williams v.        20380                                need healthcare
         Aurobindo                                               authorization
        Pharma, et al.




7.     E/O John Faragi      23-cv-        Fleming Nolen          Largely deficient PFS; need   5/19/23
       v. Hetero, et al.     1166                                medical expenses; need
                                                                 authorizations.




8.     Richard Parks v.    23-cv-857     Levin Papantonio        Need medical expenses         5/19/23
         ZHP, et al.




9.     George Cook v.      23-cv-643     Nabers Law Firm         Need to state when first      5/20/23
         ZHP, et al.                                             diagnosed with HTN; health
                                                                 insurance authorization
                                                                 must be witnessed.




10.      Lawrence          23-cv-339     Hollis Law Firm         All authorizations must be    5/20/23
       Addison v. ZHP,                                           undated.
            et al.
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11.   Sharon Thomas       23-cv-    Nigh Goldenberg Raso &     No medical expense records      4/11/23
       v. Aurobindo        0338            Vaughn              uploaded; declaration is
      Pharma, Ltd. et                                          undated and is missing
            al.                                                Plaintiff’s printed name;
                                                               necessary authorizations are
                                                               signed but incomplete.

12.   Joseph George       12-cv-     Goldenberg Law, PLLC      Largely deficient PFS;          5/20/23
      v. Hetero, et al.   12916                                insufficient product ID
                                                               information and background
                                                               information; no response as
                                                               to potential wage loss claim;
                                                               no authorizations; no
                                                               medical or pharmacy
                                                               records; no signed
                                                               declaration;
13.   Michelle Worms      20-cv-     Goldenberg Law, PLLC      Largely deficient PFS;          5/11/23
      v. Hetero Labs,     19852                                insufficient product ID
           et al.                                              information and background
                                                               information; no response as
                                                               to potential wage loss claim;
                                                               no authorizations; no
                                                               medical or pharmacy
                                                               records; no signed
                                                               declaration;
14.    Robert Lee v.      20-cv-        Nigh Goldenberg        Largely deficient PFS;          5/10/23
      Hetero Drugs, et    19843                                insufficient product ID
            al.                                                information and background
                                                               information/medications;
                                                               insufficient authorizations,
                                                               no billing records

15.   Karl Bartels v.     20-cv-        Nigh Goldenberg        Largely deficient PFS; no       5/11/23
      Hetero Labs, et     19869                                medical or pharmacy
            al.                                                records; insufficient product
                                                               ID information and
                                                               background information;
                                                               insufficient other exposures
                                                               information; no
                                                               authorizations; no signed
                                                               declaration
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16.   Seifert v. Mylan    22-cv-       Brown Chiari LLP        Incorrect date on declaration   5/30/2023
      Pharmaceuticals,    06727                                (states that it was signed in
         Inc., et al.                                          2013); areas of PFS left
                                                               blank, see notice for
                                                               complete listing



17.    Tom Lemen v.      21-cv-740     Law Office of Oscar     No PFS Filed                    PFS Due –
        ZHP, et al.                         Alvarez                                            4/2/21




18.   James Magee v.      19-cv-             Pro Se            No PFS Filed                    PFS Due –
        ZHP, et al.       15858                                                                11/18/19




19.    Phyllis Axt v.     20-cv-       Douglas & London        No PFS Filed                    PFS Due –
        ZHP, et al.        8050                                                                9/1/20




20.       William         20-cv-          Rueb Stoller         No PFS Filed                    PFS Due –
      Garewal v. ZHP,      8421                                                                9/7/20
           et al.
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21. Beatrice Meza v.      20-cv-         Wiggins Childs        No PFS Filed                PFS Due –
     Hetero, et al.        8799                                                            9/13/20




22.     Jane Davis-       20-cv-          Brown LLC            No PFS Filed                PFS Due –
       Nevaquaya v.       14027                                                            12/7/20
       Hetero, et al.




23.   Stacey Thomas       19-cv-           Farris Riley        No PFS Filed                PFS Due –
      v. Hetero, et al.   21832                                                            12/23/20




24.   Arnold Vander       20-cv-     Rubin & Machado, Ltd      No PFS Fled                 PFS Due –
      v. ZHP, et al.      10244                                                            10/19/20




25.    E/O Barbara        21-cv-          Carlson Law          No PFS Filed                PFS Due –
       Lipscomb v.         6574                                                            5/24/21
      Rite Aid, et al.
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26.     Benjamin         21-cv-       Whitehead Law Firm         No PFS Filed                PFS Due –
        Andrews v.       10908                                                               7/7/21
        ZHP, et al.




27.    James Polk v.     21-cv-        Douglas & London          No PFS Filed                PFS Due –
        ZHP, et al.      13582                                                               9/12/21




28.   Phillip Quinn v.   21-cv-            Oliver Law            No PFS Filed                PFS Due –
       Hetero, et al.    16026                                                               10/25/21




29.      E/O Tina        21-cv-            Hollis Law            No PFS Filed                PFS Due –
      Schram v. ZHP,     17384                                                               11/22/21
           et al.




30.   Boyko Achkova      21-cv-         Johnston Sztykiel        No PFS Filed                PFS Due –
       v. Rite Aid, et   10355                                                               9/26/21
             al.
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31.   Dean Tasman v.     23-cv-          Levin Papantonio          No PFS Filed               PFS Due –
        ZHP, et al.       1399                                                                5/13/23




                                               Respectfully submitted,


                                               Clem C. Trischler

      c:    All counsel of record (via ECF)
